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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA                       : CASE NO.3:18-CR-0119

               Plaintiff,                      : (Judge Thomas M.Rose)

 V.                                            •
                                                   DEFENDANT'S SENTENCING
 ROSHAWN WINBURN                               : MEMORANDUM

                Defendant.                     :



        Lead us not into temptation. The indelible image which emerges from the investigation

file on this case is a surreptitious video ofthe Government's chief witness placing hundred dollar

bills, one-by-one,into an envelope. The video continues with a view of Mr. Winbum entering the
room and having a discussion with the Government's witness. The conversation and the video
conclude with Mr. Winbum accepting the envelope. Why did he do it?

        This is not a case presenting a defense of entrapment. The only individual who entrapped
Mr. Winbum was himself. He is painfully aware of the song It's Nobody's Fault But Mine.

Everything in Mr. Winbum's background - his bringing up by his parents, his education, his past
crime-free conduct, his pursuit of upward mobility in his society and career path, his previous
pattem of work ethic and responsibility - would have been expected to have the video end with
his rejection of the envelope.

        Was his crime committed out of greed? The facts suggest a different explanation. The

desire for a handful of dollars simply does not fit the pattem of his life or the pattem of his
personality. The better explanation has to be misplaced pride and ambition. Mr. Winbum was an
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intelligent, highly motivated African-American man who wanted to succeed in the business world
in which he found himself. We submit that such a motivation at a critical moment in his life

experience pulled him loose from the moral moorings that should have led him to reject the
envelope. The resulting crime has fractured his self-image and has left him consumed with
remorse, regret and both public and private humiliation. The psychological punishment thus

sustained has left him grasping to restore the dignity, self-respect and integrity that should have

been the continuing hallmark of his background, training, and work experience.

       Mr. Winbum has been reported in the media as one of four cases that have come before

this Court. Each of those cases presents its own unique individual defendant and its own unique

set of circumstances. One case involved a public figure who previously convicted of criminal

conduct. A plea of guilty to mail fraud and aiding and abetting the indictment resulted in a six-
month sentence. This case represents Mr. Winbum's first encounter with the criminal justice

system. The second case involved an elected public official of the City of Dayton who was also
the top executive of a prominent local bank. His plea of guilty to theft or bribery concerning a
program receiving federal funds resulted in a twelve-month sentence that became a six-month
confinement because of early release. Mr. Winburn was only a City employee in an unrelated and

readily distinguishable net of circumstance. The remaining case is presently set for trial in
November. It does not involve any claims related to Mr. Winbum's case.

        The Sentencing Guidelines in this case compute to a Level 13. Because Mr. Winbum has

not previous record of convicted of a crime, this Guideline level would compute to a sentence of
 12 to 18 months. We respectfully submit that, pursuant to the factors outlined in 18 U.S.C. § 3553,

a sentence of probation is sufficient, but not greater than necessary to comply with the purposes of
sentencing.
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       Mr. Winbum was bom and raised in Dayton, Ohio by his parents. He had a good

childhood, and he maintains a close relationship with his parents and sister. In 1992, he was

graduated from high school. In 1997, he obtained a Bachelor of Science Degree in Financial
Services. In 2009, he obtained a Master of Business Administration Degree in Management,

Innovation and Change. He is currently married and has a twenty-year-old daughter from a
previous marriage. He also has two stepdaughters and a stepson. Between 2015 and 2018, he
worked for the City of Dayton in various positions with the Human Relations Counsel to ensure
equality of treatment and opportunity to all of Dayton's residents. That employment terminated
because of the conduct in this case. He is currently teaching Entrepreneurship classes for the

Community Action Partnership, and has been receiving unemployment benefits.

       Mr. Winbum is 46 years old. He has had no issues with illegal dmgs or alcohol. However,

he does suffer from anxiety for which he has taken prescribed medication. He also suffers from
several medical issues for which he has taken prescribed medication and is under a doctor's care.

These problems include a history of Type 2 Diabetes Mellitus, elevated liver enzymes, and
Gastrointestinal Reflux Disease. The current Covid-19 problems in federal penitentiaries are well

known and ongoing. Mr. Winbum's health issues enhance the risks he would inevitably encounter
if a sentence of incarceration were imposed.

        We are submitting to the Court a number of letters which illustrate the applicable § 3553

factors in this case. They confirm that Mr. Winbum has received significant punishment in the
form of lost self-esteem, remorse, regret and humiliation as a result of his fall from grace. The

risk that he will engage in future criminal conduct is minimal to non-existent, and there is no need
ofincarceration to protect the public from future crimes. The media attention to his case confirms
 that probation would be just punishment. His misconduct and the loss of his employment has been
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well publicized, and the public respect for the law has been enhanced by knowledge ofthe ordeal
he has already experienced before coming before this Court for sentencing after a plea of guilty.
       While the comments ofparents and other family members may reflect some understandable

bias in favor of Mr. Winbum, those individuals are also the people who know him best. The

following letters reflect their perspectives on the Court's consideration ofan appropriate sentence:
       1. Roland Winbum (father), Exhibit A.

       2. Iris N. Winbum (mother). Exhibit B.

       3. Lisa Winbum (wife). Exhibit C.

       4. Gabriela Torres-Winbum (daughter). Exhibit D.

       5. Caylin Baker (stepdaughter), Exhibit E.

       6. Alexandra Torres(stepdaughter). Exhibit F.

        1. Karma Winbum Rule (sister). Exhibit G.

        8. Linda Hutchings (aunt). Exhibit H.

        9. Kathy Benoit(wife's aunt). Exhibit I.

While the Court must give consideration and such weight as it deems appropriate to each ofthese

letters, the letter of Mr. Winbum's father particularly encompasses the expressions of high regard

and admiration - coupled with disbelief- that Mr. Winbum has received from a wide variety of
well-respected and influential people who know the man who will be standing in front ofthe Bench
awaiting the sentence deemed appropriate to his admitted wrongdoing.

        Emmett C. Orr, currently retired from more than thirty years at Wright State University, is

 Mr. Winbum's godfather and has known him since he was"a young child who was studious,quiet,
friendly, and motivated to be the best at whatever challenges he faced." (Exhibit J). Arm Riegle
 Crichton, current Chapter Chair for Dayton SCORE since 2017, has known and worked with Mr.
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Winbum for six years, knows and respects his skills and his character, and addresses the price he
has already paid for his crime.

               I can assure he has already punished himself mentally and
               emotionally more than any court in the land for not holding tight to
               his values,for not protecting his reputation as a business advisor and
               a family man in the community. He has created internal boundaries
               for himself and made commitments to avoid even the appearance of
               wrongdoing in the future. His faith is stronger than ever.

(Exhibit K).

       Keith L. Jenkins, president ofan organization dedicated to optimizing human performance

in the workplace,first worked with Mr. Winbum in 2007 and offers hope for Mr. Winbum's future
as a positive contributing member to his community. (Exhibit L). Darlene J. Raker has worked
with Mr. Winbum since 2009 in a relationship of tmst and respect. She understands the impact

his wrongdoing has had on his sense of integrity and self-worth as well as the positive aspects of
his character that should restore him to his status as a dedicated and contributing member of

society. (Exhibit M). The letters of Cindy Davidson (Exhibit N), Nick Wurst(Exhibit O), Kenya

K. Taylor (Exhibit P), Christine and David Mesker (Exhibit Q), and Larry Trimbach (Exhibit R)
further attest to the character, remorse and positive potential of Mr. Winbum.

        Based on the sentencing factors relevant to the Court's consideration of this case, we

believe that a sentence of probation is a sentence sufficient, but not greater than necessary, to

comply with the purposes of federal sentencing. We urge that this Court impose such a sentence
on Mr. Winbum.
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                                           Respectfully submitted,


                                           /s/ David C. Greer
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                                           /s/ David P. Williamson
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                                            Attorneys for Defendant, RoShawn Winbum


                                CERTIFICATE OF SERVICE


        I hereby certify that on the   24"^ day of July 2020,1 filed the foregoing Sentencing
Memorandum of Defendant RoShawn Winbum with the Clerk ofthe United States District Court

for the Southem District of Ohio by way of the CM/ECF system, which will notify all parties of
record.



                                            /s/ David C. Greer
                                            DAVID C. GREER(0009090)

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